

Matter of Chloe R. (Gianna C.) (2021 NY Slip Op 01600)





Matter of Chloe R. (Gianna C.)


2021 NY Slip Op 01600


Decided on March 19, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 19, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, NEMOYER, WINSLOW, AND BANNISTER, JJ.


236 CAF 19-02068

[*1]IN THE MATTER OF CHLOE R. ONONDAGA COUNTY DEPARTMENT OF CHILDREN AND FAMILY SERVICES, PETITIONER-RESPONDENT; GIANNA C., RESPONDENT-APPELLANT. (APPEAL NO. 2.)






D.J. &amp; J.A. CIRANDO, PLLC, SYRACUSE (JOHN A. CIRANDO OF COUNSEL), FOR RESPONDENT-APPELLANT.
ROBERT A. DURR, COUNTY ATTORNEY, SYRACUSE (JOSEPH M. MARZOCCHI OF COUNSEL), FOR PETITIONER-RESPONDENT.
ARLENE BRADSHAW, SYRACUSE, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Onondaga County (Michael L. Hanuszczak, J.), entered October 11, 2019 in a proceeding pursuant to Family Court Act article 10. The order, among other things, continued the placement of the subject child with petitioner. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on February 11 and 12, 2021,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: March 19, 2021
Mark W. Bennett
Clerk of the Court








